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                                                                            EXHIBIT 2

                       UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                              WESTERN DIVISION


United States,                               :     Case No. 1:07-CR-060
                                             :
      Plaintiff,                             :
                                             :
vs.                                          :
                                             :
Denise Huffman, Alice Huffman                :
Ball, and Paul H. Volkman,                   :
                                             :
      Defendants.                            :

                                     ORDER

      The Court conducted a conference in this matter with counsel

on November 3, 2010, to address pending motions filed by

defendant Volkman.       After considering the parties’ written

submissions and arguments, the Court makes the following rulings.

      Defendant’s motion for a trial continuance (Doc. 136) is

granted.    Defendant’s expert witness has not completed his review

of the critical evidence in this case and has not yet tendered

his report.     Counsel represented to the Court that the expert

believes he will be prepared if a 60-day continuance is granted.

The Court is cognizant of the age of this case, the number of

prior continuances that have been granted, and the Government’s

arguments opposing the motion.          The Court previously declared

this case to be complex for purposes of the Speedy Trial Act, 18

U.S.C. §3161(c)(1).       Defendant has formally waived his rights to

a speedy trial under that statute.               Given the specific


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circumstances presented, the Court finds that the ends of justice

are served by granting a 60-day continuance, and that the need

for additional time to prepare the defense of this complex case

outweighs the interest of the public and the Defendants in a

speedy trial.     See 18 U.S.C. §3161(h)(8)(A).

        Jury trial will begin at 9 a.m. on Monday, February 28,

2011.    No further extensions of the trial date will be granted.

The Court will not hold trial sessions on Fridays during the

trial.

        Defendant’s motion for a separate trial (Doc. 142) is moot,

in view of the plea agreements executed by Denise Huffman and

Alice Huffman.

        Defendant’s motion to bifurcate the counts of the indictment

concerning patient deaths (Doc. 158) is denied.               The evidence

concerning the deaths is relevant to the alleged conspiracy, and

to the elements of the offenses charged against Defendant under

21 U.S.C. §841.      It also appears to the Court that evidence about

the treatment of patients, specific prescriptions given, and any

deaths that allegedly resulted from these activities, is so

intertwined that there would be no practical or feasible manner

in which to separate the evidence of the deaths alleged in the

indictment.

        Defendant’s motion for a supplemental juror questionnaire

(Doc. 139) is granted in part.          The Court finds that some


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additional questions to the panel would be appropriate given the

issues in this case.       Counsel shall submit no more than twenty

proposed juror questions by February 4.            The Court anticipates

that all potential jurors will be asked to complete the

additional questionnaire on February 28 when they appear for

trial, and not before.        The questionnaires will be copied and

given to counsel prior to the start of voir dire.               A final

decision on the additional proposed questions will be made at the

final pre-trial conference.

     Defendant’s motion for additional time for attorney voir

dire (Doc. 143) is granted.         The Court will permit the Government

one and a half hours, and the Defendant two and a half hours for

attorney voir dire.

     The motion for Brady materials (Doc. 137), for disclosure of

impeaching information (Doc. 138), and for disclosure of

confidential informants (Doc. 144), are all denied to the extent

that Defendant is seeking immediate production of these

materials.    The Government is not obligated to disclose these

materials in advance of trial.          The Court would like to avoid any

unnecessary delays during the trial due to the disclosure of

substantial amounts of impeaching information about any

Government witness just prior to that witness’ testimony.                 The

Government informed the Court that it also wants to avoid delays,

and will make timely disclosures.            Any materials that are lengthy


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shall be submitted to the Court for in camera review at least

thirty days before trial, by January 28.             The Court grants

Defendant’s motion to the extent that it will review, in camera

and prior to trial, the personnel files of any Government

witnesses.    Defendant shall submit to the Court a summary or

description of the types of materials Defendant believes may be

found in those files which may be subject to disclosure.

     Defendant’s motion to strike surplusage from the indictment

(Doc. 141) is denied as moot.          The Court will not read the

indictment to the jury, and the indictment will not be provided

to the jury as an exhibit.

     Defendant’s motion to dismiss Count 6 (Doc. 140), and motion

to dismiss counts concerning Jeffrey Reed, Charles Jordan,

Scottie James and William Wicker (Doc. 162) are taken under

submission.     The Government does note that the trial evidence

concerning these four deaths will not be limited to Dr.

Policastro’s report and opinion, which will be one subject of the

Daubert hearing.      If that is the case, it would be error for the

Court to dismiss charges before trial based on a sufficiency of

the evidence challenge.        This motion will be addressed again at

the Daubert hearing.

     Defendant’s motion to exclude the Government’s experts

Kennedy, Severyn, and Policastro (Docs. 160 and 161) will be the

subject of a Daubert hearing to be held on Monday, December 20,


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2010 beginning at 8:30 a.m.          The Court will reserve Tuesday,

December 21 for continuation of this hearing.              The Government

will ensure the attendance of its experts at this hearing.                  The

motion to exclude testimony of Dr. Severyn and Dr. Policastro on

the basis of untimely disclosure is denied, as Defendant has been

in possession of their reports for a significant period of time,

and has not demonstrated prejudice.

     Defendant’s motion to suppress search warrants (Doc. 163) is

submitted for decision.        The Court sees no need for an

evidentiary hearing on this motion, and an order will issue in

due course.

     Defendant’s motion in limine to exclude statistical data

(Doc. 145) is denied.       Defendant’s arguments about this evidence

are fodder for cross-examination, and do not support a blanket

exclusion order.

     Defendant’s motion to exclude unrelated civil actions (Doc.

146) cannot be granted or denied at this juncture and must await

presentation of evidence at trial.           The Court preliminarily notes

that the fact of the existence of civil litigation against

Defendant may be relevant background information, while the

details of individual civil suits against Defendant are likely

not admissible.

     Defendant’s motion to exclude evidence about Dr. David

Proctor (Doc. 147) cannot be granted or denied at this point.


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The issue may also be moot after Denise Huffman formally enters

her plea.    The Government states that it does not intend to

introduce the details of the prosecution of Dr. Proctor or his

conduct after indictment in any event.

     Defendant’s motion to exclude the DEA and Ohio Medical Board

proceedings against him (Doc. 149) is granted in part.                The Court

agrees that the different standards of review and proof in these

administrative actions may pose a danger of confusion and undue

prejudice.    The Government states, however, that some of the

witnesses who testified in those proceedings are expected to

testify at trial.      Their prior testimony may therefore be a

proper subject of impeachment.          The Government also states that

it does not intend to introduce the DEA or the Medical Board

findings and conclusions.        Cautionary instructions to the jury

regarding this area will be considered at trial upon request.

     Defendant’s motion to exclude pharmacists’ complaints about

Volkman (Doc. 150) is denied.          A pharmacist has a legal duty to

report what he believes to be improper or illegal prescribing

behavior.    Moreover, the Government intends to present testimony

from the pharmacists at trial.          Defendant’s objections to any

specific testimony are preserved for trial.

     Defendant’s motions to exclude hearsay from Dr. Del Zotto

(Doc. 148); to exclude hearsay from unidentified sources (Doc.

151); to exclude hearsay statements of Chad Ball (Doc. 152); to


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exclude hearsay about patients traveling to fill prescriptions

(Doc. 153); and to exclude hearsay about a confidential informant

(Doc. 157), are all denied without prejudice to renewal at trial.

The Court cannot grant or deny these motions without considering

the testimony actually proffered at trial.

     Defendant’s motion to preclude the use of derogatory terms

(Doc. 154) is denied to the extent that it seeks to prevent any

Government lay witnesses from uttering such terms as “pill mill,”

“script doctor” and the like.          Any similar terms of art or

commonly-used expressions that may be used by expert witnesses

are admissible subject to proper qualification.

     Defendant’s motion concerning appropriate “standard of care”

evidence (Doc. 155) is denied to the extent that it seeks a

pretrial order excluding evidence of management practices or poor

administrative planning.        Defendant is free to request a limiting

or cautionary instruction during the trial regarding this issue.

     Defendant’s motion to exclude evidence of malpractice

insurance and/or lack thereof (Doc. 156) cannot be granted or

denied at this juncture.        Evidence about malpractice insurance or

lack thereof may be relevant depending upon the context in which

the evidence is sought to be admitted.            Defendant’s objections to

specific “waiver” documents in patients’ files may be raised at

trial.

     Defendant’s motion to exclude “profile” or “red flag”


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evidence (Doc. 159) is denied insofar as it seeks pretrial

exclusion of all such evidence.          Facts about the operation of the

clinic Defendant cites in the motion (such as a cash-only policy,

or the socio-economic status of patients) may be relevant to both

the conspiracy and to the drug charges against Defendant.                 Many

of Defendant’s objections are proper matters for cross-

examination, not wholesale exclusion.            Objections to any specific

evidence or testimony are preserved for trial.

     The jury trial date of January 3, 2011 is hereby vacated.

Trial will commence on February 28, 2011 at 9 a.m.               The Court

will conduct a Daubert hearing on December 20, 2010 at 8:30 a.m.,

and if necessary on December 21, 2010 beginning at 8:30 a.m.                  The

Court will contact counsel to set a final pretrial conference

sometime in early February.

     SO ORDERED.

DATED: November 4, 2010              s/Sandra S. Beckwith
                                     Sandra S. Beckwith
                                     Senior United States District Judge




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